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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

FRANK G. HOLLEY,                          )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )     CASE NO. 3:16-CV-195-WKW
                                          )
TOWN OF CAMP HILL;                        )
DANNY EVANS; and                          )
JOHNNY L. POTTS,                          )
                                          )
             Defendants.                  )

                                        ORDER

      Upon consideration of the parties’ joint stipulation of dismissal (Doc. # 53),

which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

this action has been dismissed with prejudice by operation of Rule 41, on the terms

agreed to and set out by the parties.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 18th day of January, 2019.

                                              /s/ W. Keith Watkins
                                    CHIEF UNITED STATES DISTRICT JUDGE
